      Case 4:09-cr-00296 Document 161 Filed on 12/01/10 in TXSD Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-09-296-2
                                                 §
                                                 §
MARY JESSE CUADROS                               §

                                            ORDER

       Defendant Mary Cuadros filed an unopposed motion to extend deadlines. (Docket Entry No.

159). The motion is granted. The deadline for filing objections to the presentence report is extended

to December 21, 2010. The sentencing hearing is reset to January 13, 2011, at 9:30 a.m.

               SIGNED on December 1, 2010, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
